           Exhibit A




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 ACCTRES         BOOKERC                                                           SOC_1H     SOC_2H              TERORH      YEA
 P               D          GDLINEHI   GLMAX      GLMIN    SENTTOT0     SENTYR     I          I         SOC_3HI   I           R
                                                                                                        #NULL
            -2          5   2J1.2            16       10         0.00       2012          0         0     !   #NULL!          2012
            -3          5   2J1.2            60       60         0.00       2013          0         0       0     18          2013
            -3         10   2J1.2           188      151       120.00       2013          0         0       0     18          2013
             0         10   2J1.2           120      120        96.00       2013          0         3       0     15          2013
             0          7   2J1.2           262      210        60.00       2014          0         0       2     16          2014
            -3          7   2J1.2           188      151        30.00       2015          0         0       0     18          2015
            -3          0   2J1.2            96       96        96.00       2016         12         0       0      6          2016
            -3          9   2J1.2            96       96        18.00       2016          0         0       0     18          2016
            -3         10   2J1.2            96       96        48.00       2016          0         0       0     18          2016
            -3          5   2J1.2            96       96        38.00       2017          0         0       0     18          2017
            -3          5   2J1.2            96       96        24.00       2017          0         0       0     18          2017

Glossary:

SENTTOT0: Total prison sentence in months, simple probation sentences and alt confinement include and counted as 0
GLMAX: Guideline range maximum, including trumping statutory minimums
GLMIN: Guideline range minimum, including trumping statutory minimums

TERORHI: Offense levels added for international terrorism for primary guideline calculation
SOC_1HI – SOC_18HI: Offense levels awarded under any specific offense adjustments (b)(1)-b(18) under primary sentencing guideline.




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